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 1                                  UNITED STATES DISTRICT COURT

 2                    CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

 3                    HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

 4

 5
           ROBERT VERTHELYI,                       )
 6                                                 )
                      Plaintiff,                   )
 7                                                 )
                             vs.                   )
 8                                                 )   2:24-CV-5028-MWF
           PENNYMAC MORTGAGE INVESTMENT            )
 9         TRUST, et al.,                          )
                                                   )
10                  Defendants.                    )
           _________________________________
11

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13                            REPORTER'S TRANSCRIPT OF HEARING

14                                  Los Angeles, California

15                              Thursday, November 21, 2024

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23                                  Federal Official Reporter
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 115:01:00             THE CLERK:     Calling item number two, case number

 215:01:05   CV-24-5028-MWF, Roberto Verthelyi vs. PennyMac Mortgage

 315:01:15   Investment Trust, et al.

 415:01:16             Counsel, please state your appearance for the

 515:01:18   record.

 615:01:31             MR. BARENBAUM:     Good morning, Your Honor.     Daniel

 715:01:34   Barenbaum, Berman Tabacco, on behalf of plaintiff.         Good

 815:01:39   afternoon, sorry.

 915:01:39             MR. ROCHA:     Good afternoon, Your Honor. Jeff Rocha,

1015:01:41   also Berman Tabacco, on behalf of plaintiff.

1115:01:44             MS. PRATSINAKIS:     Catherine Pratsinakis with

1215:01:45   Dilworth Paxson, also on behalf of plaintiff.

1315:01:46             THE COURT:     Good afternoon, counsel.

1415:01:49             MR. FARINA:     Good afternoon, Your Honor.     Steven

1515:01:51   Farina from Williams & Connolly on behalf of PennyMac.

1615:01:55             MS. COLLINS:     Melissa Collins, also of Williams &

1715:01:56   Connolly, on behalf of PennyMac.

1815:01:56             MR. UMHOFER:     Good morning, Your Honor.     Matthew

1915:01:57   Umhofer and Jonas Mann on behalf of PNMAC Capital Management.

2015:02:01             THE COURT:     Good afternoon, counsel.    You may be

2115:02:04   seated.

2215:02:05             There is a jury deliberating.      If we get a note, I

2315:02:11   will take that up.      If there is a verdict, I will receive

2415:02:14   those verdicts.     I try not to waste lawyers' time, but even

2515:02:20   less would I keep a jury waiting.      They said that they would




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 115:02:24   just deliberate today until 3:30; I don't know whether

 215:02:27   because they just wanted to get some more work done, or

 315:02:30   whether they were hoping perhaps to reach a verdict.

 415:02:33            So I just want to give you a heads up that that

 515:02:36   might be interrupting us.     It would be a lengthy

 615:02:40   interruption, so if you chose to proceed by Zoom at a later

 715:02:46   date, that would be fine.     And I just want to say, with

 815:02:51   out-of-town counsel, if you wish to appear by Zoom for a

 915:02:54   hearing, then I'm certainly open to that.

1015:02:58            So let's get started.     In light of the tentative,

1115:03:05   let me hear from the movants.

1215:03:09            MR. FARINA:    Thank you, Your Honor.      Good afternoon.

1315:03:18   We have read the tentative.     Thank you for that.      I'll go

1415:03:21   straight to the issues that you've raised on the choice of

1515:03:25   law issue.

1615:03:26            We certainly agree that the choice of law provision

1715:03:30   applies to this dispute.     And the issue that Your Honor has

1815:03:34   raised is whether or not California's interests override

1915:03:37   Maryland's interests.

2015:03:38            Now, PennyMac is, of course, a Maryland REIT, it's

2115:03:43   organized under the laws of Maryland, and the choice of law

2215:03:47   provision that is included is directly on point, that it

2315:03:49   speaks to any dispute arising out of these foundational

2415:03:52   corporate documents shall be governed by Maryland law.

2515:03:56            And this dispute, particularly the way Your Honor is




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 115:04:00   reviewing the dispute and analyzing it, depends on the

 215:04:03   Articles Supplementary, which are part of the Declaration of

 315:04:06   Trust.

 415:04:07             So the issue that Your Honor is addressing in the

 515:04:11   tentative goes directly to these foundational corporate

 615:04:14   documents.

 715:04:15             And Your Honor has raised, and the plaintiffs have

 815:04:18   raised, the Walter decision.      The Walter decision was a

 915:04:21   consumer case.    It involved an Internet provider.        It did not

1015:04:26   involve shareholders in a REIT or in a corporation.           There is

1115:04:30   an entirely separate body of law that addresses the rights of

1215:04:33   shareholders vis-a-vis the corporation in which they own

1315:04:38   shares.

1415:04:39             And those foundational corporate documents, the

1515:04:42   Articles Supplementary, the Declaration of Trust, explain how

1615:04:45   those disputes are to be adjudicated.         And they are to be

1715:04:49   adjudicated under Maryland law.       This is not a consumer

1815:04:52   action; because it is not a consumer action, the concern that

1915:04:55   is raised in the Walter decision about remedies is not

2015:04:59   present here.

2115:05:00             There is an entire body of law, Maryland law, that

2215:05:04   tells corporations and REITs how they are supposed to deal

2315:05:10   fairly with their shareholders, and to apply fairly their

2415:05:13   foundational corporate documents, such as the Declaration of

2515:05:17   Trust and the Articles Supplementary.




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 115:05:20            The Maryland Court of Appeals, the highest court in

 215:05:24   Maryland, has said that these foundational corporate

 315:05:27   documents are effectively contracts between the shareholders

 415:05:30   and the corporation.     There is nothing that would preclude

 515:05:32   the plaintiff from suing under Maryland law to enforce their

 615:05:38   reading, and Your Honor's reading, of the Articles

 715:05:42   Supplementary.

 815:05:42            And there is nothing that would keep them from

 915:05:45   getting an adequate remedy, including having the corporation

1015:05:49   change, and forcing the corporation, if that is what the

1115:05:54   Court rules, to follow the Articles Supplementary, to follow

1215:05:57   these foundational corporate documents in their dealings with

1315:06:00   their shareholders.

1415:06:02            There are shareholder disputes that are adjudicated

1515:06:05   between shareholders and the company on a daily basis all

1615:06:08   over the country, including in Maryland.        This is not the

1715:06:11   same as Walter, which involved an Internet service provider

1815:06:15   and consumers.    These are shareholders.      They can be -- they

1915:06:20   can be, by analogy, called consumers, and I understand that

2015:06:22   the definitions in the UCL are quite broad, but

2115:06:27   fundamentally, they are shareholders, and their dispute is

2215:06:30   governed by these foundational documents, and they have an

2315:06:32   adequate remedy under Maryland law that may not be available

2415:06:37   to a consumer who is dealing with an Internet company.           But

2515:06:40   shareholders in Maryland, and every other jurisdiction, have




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 115:06:43   an adequate remedy to force their corporation to adhere to

 215:06:48   their foundational corporate charter documents.

 315:06:51             So there is no showing on the part of the plaintiff

 415:06:54   that they could not get relief, if they are entitled to

 515:06:57   relief, applying Maryland law.

 615:07:00             So we don't --

 715:07:02             THE COURT:    I'm sorry, counsel.     I don't mean to

 815:07:04   interrupt you, but I wanted to ask.

 915:07:06             MR. FARINA:    No, please.

1015:07:07             THE COURT:    Let's say I agreed with you, then what

1115:07:11   do you see happening here, is that you are going to make a

1215:07:13   motion to transfer it?     You would say that there -- it would

1315:07:18   remain here, but I would apply the Maryland law, presumably

1415:07:23   then, you know, by granting leave to amend, and then that is

1515:07:27   the way it comes back.

1615:07:28             What would you -- what, in your view, is the proper

1715:07:31   disposition if I were to agree with the argument that you are

1815:07:35   making?

1915:07:36             MR. FARINA:    If the UCL doesn't apply, there is no

2015:07:38   reason, there is no basis to keep this case here in

2115:07:42   California.     The plaintiff is not a California resident.          The

2215:07:44   case should be adjudicated in Maryland.        I guess it's up to

2315:07:47   the plaintiff, but we would probably, I would imagine, move

2415:07:50   for transfer, because it's a Maryland REIT, and you are

2515:07:53   adjudicating Maryland law, and the plaintiff is from New




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 115:07:56   Jersey.

 215:07:56              The case -- the hook to get the case here is the

 315:08:01   UCL.     But the cases that we cite are, I think, quite clear

 415:08:05   that if the choice of law provision mandates the application

 515:08:09   of Maryland law, and the Court would apply Maryland law, the

 615:08:12   UCL claim disappears.

 715:08:14              So there would be no more hook to keep it in this

 815:08:17   Court.

 915:08:17              THE COURT:    That, I understand.    As a technical

1015:08:19   matter, I don't know that that was really -- that that is the

1115:08:22   hook.     I mean, there is either a basis for it to be in this

1215:08:25   court or not, which could be tested by a motion to transfer.

1315:08:29              But I recognize that, at least in your view, that

1415:08:34   would affect that decision, which is why I'm asking the

1515:08:38   question.

1615:08:38              What, other than that point, which is the point that

1715:08:44   I have certainly been struggling with, I agree with you that

1815:08:47   it's a difficult one, what -- or perhaps I should say I feel

1915:08:52   it's a difficult one, you might very well feel that it's not

2015:08:54   a difficult one.     So I shouldn't say that we are agreeing.

2115:08:57              MR. FARINA:    More difficult now than it was a half

2215:08:59   an hour ago.

2315:09:00              THE COURT:    What else do you want to address in the

2415:09:05   tentative?

2515:09:05              MR. FARINA:    Sure.   As I understand the tentative,




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 115:09:07   Your Honor is focusing on the Articles Supplementary, which

 215:09:10   again, frankly, is all the more reason why this should be

 315:09:13   adjudicated under the appropriate law.

 415:09:15            But Your Honor is pointing out, what Your Honor is

 515:09:20   characterizing as a contradiction between 4(a) and I think

 615:09:23   4(g), and we are not suggesting that anything other than the

 715:09:27   agreement, all the provisions of the Articles Supplementary

 815:09:31   need to be read together.

 915:09:32            So you read 4(a) and 4(g) together, and 4(a) talks

1015:09:36   about the issuance of dividends, and 4(a) directs the reader

1115:09:41   to 4(g) under defined terms to establish how the dividend

1215:09:46   rates are to be calculated.

1315:09:49            So by no means are we suggesting that the two are

1415:09:52   separate and apart from one another, our argument is that in

1515:09:55   order to apply 4(a), you need to look at 4(g), because 4(g)

1615:10:00   tells you the waterfall that gets you to a dividend rate.

1715:10:04            And I don't think that there is a dispute that if

1815:10:07   you apply the waterfall, when you get to the end, when you

1915:10:11   disregard the provisions that must be disregarded because of

2015:10:14   the LIBOR Act; namely, any rate that depends on LIBOR, you

2115:10:20   disregard that under the LIBOR Act; and then, B, any polling

2215:10:24   provision, you disregard that.

2315:10:26            The waterfall is LIBOR, polling provision, and then

2415:10:31   revert back to the rate in the prior dividend period.          That

2515:10:35   is a fixed rate.   It will always be a fixed rate.        It was a




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 115:10:38   fixed rate in 2017 when the Articles Supplementary were

 215:10:41   approved.     But that is what the agreement says.       Those are

 315:10:43   the terms pursuant to which any shareholder purchased these

 415:10:48   preferred shares.     That in the event of a disappearance of

 515:10:54   LIBOR, whether or not people thought that was going to

 615:10:56   happen, wasn't going to happen, temporary, permanent, here

 715:10:58   are the steps that the company would follow in determining

 815:11:02   the dividend rate for the preferred shareholders.

 915:11:05              And that is what we did.     We followed exactly what

1015:11:09   is laid out in the agreement.       And you can't interpret 4(a)

1115:11:14   and the use of the term floating, floating is then defined in

1215:11:18   4(g).    And in 4(g), it says, here is how you do it, one, two,

1315:11:23   three, four.     We are on to the last one, and the last one

1415:11:27   clearly on its terms mandates a reversion to the prior rate,

1515:11:32   which is always going to be a fixed rate, because it's the

1615:11:35   prior rate.

1715:11:35              So that is what we are arguing.       We are just simply

1815:11:39   arguing that you apply what the agreement, the agreement, the

1915:11:43   Articles Supplementary, said you would do at the time the

2015:11:46   shares were issued.     And that is all that we did.

2115:11:48              So the question is:     Does the LIBOR Act change any

2215:11:51   of that?    The LIBOR Act was meant to address situations where

2315:11:55   there wasn't a fallback provision that could operate without

2415:11:59   LIBOR.

2515:12:00              But congress was very clear what that meant.         There




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 115:12:04   are two specific circumstances that are set out in the LIBOR

 215:12:09   Act for when a fallback provision doesn't work.

 315:12:13            1.     It depends on LIBOR.     That isn't the case here.

 415:12:17   And;

 515:12:17            2.     It involves a polling operation.        That isn't the

 615:12:23   case here.      Both of those are being disregarded in the

 715:12:26   Articles Supplementary.

 815:12:27            There is nothing in the LIBOR Act that requires any

 915:12:29   other requirement.      There is nothing that says it has to be a

1015:12:32   fixed rate.      They could have said that.      They could have

1115:12:33   said, can't depend on LIBOR, can't depend on polling, can't

1215:12:36   be a fixed rate.      That is not in the statute.

1315:12:39            The statute specifically identifies what fallback

1415:12:43   provisions will be replaced, and this isn't one of those

1515:12:46   circumstances.

1615:12:47            And the other thing that the statute says, and it

1715:12:49   says it three times, is that if there is a fallback provision

1815:12:54   that works -- and by that, again, they mean doesn't include

1915:12:58   one of these disqualifiers, leaving you with nothing -- then

2015:13:03   you apply whatever it is the parties agreed to.           They say it

2115:13:06   three times.      They say it in the purpose, they say it in the

2215:13:10   rules of construction, that section in the LIBOR Act, and

2315:13:13   then they say it, that there is no -- there should be no

2415:13:15   negative inference or presumption against any rate that is

2515:13:19   applied in an existing contract pursuant to existing fallback




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 115:13:24   provisions, because it isn't the one that the board decides

 215:13:27   should be applied.

 315:13:30            So there is three times where Congress said, if it

 415:13:33   ain't broke, we are not trying to fix it.        And they said

 515:13:36   exactly what it means for the contract to be broken.

 615:13:39            Now, Your Honor I think is saying the contract is

 715:13:42   broken because 4(a) is intentioned with 4(g).         We

 815:13:46   respectfully submit it's not.      4(a) depends on applying 4(g),

 915:13:51   and 4(g) itself is clear; and if it is clear, the LIBOR Act

1015:13:57   has nothing to do with it, because it doesn't fit within any

1115:14:01   of those circumstances where the LIBOR Act requires an

1215:14:05   intervention, and an overriding of what the parties agreed

1315:14:08   to, and the imposition of a different replacement benchmark.

1415:14:13            So what is contemplated by the LIBOR Act in terms of

1515:14:17   a contract that doesn't work is not what is at issue here;

1615:14:20   and frankly, it's not what Your Honor has found.           Your Honor

1715:14:24   hasn't found that either of those provisions are applicable

1815:14:27   from the LIBOR Act.

1915:14:28            Your Honor is questioning whether or not what is in

2015:14:31   the Articles Supplementary actually works.        And that is a

2115:14:34   decision that should be made by a Maryland -- under Maryland

2215:14:37   law, because it is a Maryland instrument, and it is a dispute

2315:14:41   between the shareholders of a Maryland REIT, and that REIT

2415:14:47   over the operation of these foundational corporate documents.

2515:14:50            The LIBOR Act, if the LIBOR Act has nothing to say




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 115:14:54   about that, then it doesn't violate the LIBOR Act.

 215:14:58            THE COURT:    Thank you.

 315:14:59            Let me hear from the plaintiff.

 415:15:03            MS. PRATSINAKIS:     Good afternoon, Your Honor.

 515:15:23            I would like to say that the Court, in terms of the

 615:15:30   LIBOR Act, got it exactly right.      We have a contract that

 715:15:34   states we are going to be fixed for a certain period of time,

 815:15:37   and then we are going to be floating.

 915:15:39            The definition of three-month LIBOR is in Section

1015:15:42   (g), and that is separate and apart, and all falls from the

1115:15:46   LIBOR benchmark.    And so the LIBOR Act sought to take

1215:15:55   provisions of legacy contracts that just simply did not have

1315:15:59   a way to provide for an adequate replacement benchmark.

1415:16:05   Here, there is no other benchmark referenced in the Articles.

1515:16:08            All that is referenced is the definition of

1615:16:11   three-month LIBOR, and it's just a waterfall that all stems

1715:16:15   from LIBOR, that definition.

1815:16:17            And so I think Your Honor got it exactly right, that

1915:16:21   the last provision in (g) cannot negate the material, the

2015:16:27   very material key terms of provision (a), which provides you

2115:16:30   will have a fixed period for this amount.        It has a set end

2215:16:35   date.   There is nothing in (g) that states that I could then

2315:16:39   extend the fixed rate in perpetuity.

2415:16:41            That language, by the way, I mean, I read it many,

2515:16:46   many times, and I apologize to my colleagues on my right, I




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 115:16:52   don't think it's clear.       I think it's quite unclear.

 215:16:54              I don't know if there is a time or spacial existence

 315:16:58   where there is no such dividend period.          I think it's poorly

 415:17:01   drafted.     I don't agree that it's just so clear on its face.

 515:17:05   And it's not a benchmark.       You can't just have an old,

 615:17:09   outdated, fixed rate from seven years ago, that is completely

 715:17:15   divorced from market factors today, and claim that that is a

 815:17:19   benchmark.      That is just not a benchmark.      It's basic

 915:17:24   finance.     It's not the intention of the LIBOR Act.

1015:17:26              I think Your Honor got that exactly right, where we

1115:17:29   saw that the legislative testimonies said over and over

1215:17:33   again, these legacy contracts are problematic, you know, they

1315:17:38   don't have an adequate benchmark, practicable one, and we

1415:17:43   need to do something about it.

1515:17:45              We provided -- you know, congress provided this

1615:17:48   company with a very easy off ramp to meet the parties'

1715:17:52   expectations, and to not put one in a worse position than the

1815:17:55   other, and it just failed to do so.

1915:17:58              It's looking for a loophole to save a couple of

2015:18:00   bucks.     You know, 300 basis points, it's pretty substantial.

2115:18:06   These are retail investors, they are not the big

2215:18:09   institutional investors.       A lot of their competitors, they

2315:18:13   had to come up against negotiations with the institutions.

2415:18:15   They had leverage.

2515:18:15              Here, we didn't have leverage.        We are just a bunch




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 115:18:18   of retail investors, and PennyMac thought, oh, we could save

 215:18:22   some money, let's go for it.      That is really what this case,

 315:18:24   you know, comes down to.

 415:18:25             There is the expectations of the preferreds, and

 515:18:31   there is a violation of law.      It is not this quintessential

 615:18:34   Maryland question of whether they violated Maryland law.

 715:18:37   That seems quite a stretch.      There is nothing particularly

 815:18:41   wrong with California having an interest in making sure the

 915:18:46   companies that are, in its four corners of the state, are

1015:18:51   acting lawfully.    I don't know that that is really that

1115:18:54   immaterial of an interest.

1215:18:55             And I don't know that Maryland is really in a

1315:18:59   particularly better situated place to decide federal law

1415:19:04   issues than a Federal Court here.

1515:19:07             They didn't ask for a different venue.        They could

1615:19:11   have asked for a different venue when they filed their

1715:19:14   motion, they didn't do that.      So I think it's too little too

1815:19:18   late.

1915:19:18             Personally, I don't know why, you know, when I sort

2015:19:24   of sat back and thought about, you know, the Walter case, and

2115:19:29   why -- it just kind of smacked me in the face that they

2215:19:33   wouldn't even talk about it.      They didn't even mention

2315:19:36   Walter.   They didn't mention It's Just Lunch.        They didn't

2415:19:39   mention the Jialu Wu case.     These cases are quintessentially

2515:19:43   about protecting fundamental policy here in California.




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 115:19:47             And we, whether it's a consumer case, or a

 215:19:52   shareholder case, the Maryland CPA is the corollary, and the

 315:19:56   Maryland CPA does not include, or does not provide

 415:20:03   Mr. Verthelyi with the ability to get a public injunction on

 515:20:05   behalf of the class.

 615:20:06             You know, it's -- it would have been nice if they

 715:20:09   actually addressed it in their papers.          I almost consider it

 815:20:12   waived, but I leave that to Your Honor's discretion.

 915:20:15             If there are -- sorry.       One other point.      Congress

1015:20:21   said three times that it didn't want to disrupt a contract

1115:20:27   that had an adequate, practicable and clear benchmark

1215:20:33   replacement.

1315:20:34             This contract has neither a clear language about a

1415:20:39   replacement, has neither, you know, an adequate one, and it's

1515:20:45   not a benchmark.      It's an old interest rate from seven years

1615:20:49   ago.

1715:20:50             And it would be completely unfair to change the

1815:20:53   entire nature of this note.        It's a floating rate note, a

1915:20:59   floating rate note that doesn't float, that is now just

2015:21:01   tethered to a really old, outdated rate that, you know, what,

2115:21:07   200 years from now we are going to be relying on the 2017

2215:21:10   note rate?      I mean, that doesn't make any sense.       It's

2315:21:12   unfair.

2415:21:13             And I guess -- I don't think -- it also struck me as

2515:21:19   sort of unusual that a company would try to use a federal law




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 115:21:23   that was designed to prevent the very thing they are trying

 215:21:27   to do, and say, oh, well, mea culpa, you know, we were

 315:21:32   required to strike out these sentences, but we weren't

 415:21:34   required to strike out this last one; so therefore, we could

 515:21:38   do the very thing the LIBOR Act was designed to prevent.

 615:21:43   It's just quite extraordinary to me, their position.

 715:21:49              Thank you, Your Honor.

 815:21:49              THE COURT:    Thank you.

 915:21:50              Let me hear a response.

1015:21:54              MR. FARINA:    So I don't think it's extraordinary for

1115:21:57   us to apply the Articles Supplementary exactly how they are

1215:22:02   written.     The Articles Supplementary were created in 2017 for

1315:22:07   the purpose of issuing these shares, and it laid out how

1415:22:12   three-month LIBOR would be calculated.          It laid out how the

1515:22:16   waterfall would work if LIBOR were not available.            Those were

1615:22:21   the rules.      Those were the rules that would govern the

1715:22:24   relationship between these preferred shareholders and the

1815:22:27   company.     And all we've done is followed what we said we

1915:22:31   would do.     That is what we have done.

2015:22:34              And we do have fiduciary obligations to the common

2115:22:37   shareholders.      You can't favor one class of shareholders over

2215:22:41   another.     All we are trying to do is we are applying the

2315:22:44   Articles Supplementary as written.         And there is nothing in

2415:22:46   the LIBOR Act that precludes that.         The LIBOR Act has nothing

2515:22:51   to do with that, absent those circumstances that are




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 115:22:52   specified in the LIBOR Act.

 215:22:54             There is is a lot of discussion about what

 315:22:57   everyone's intent was.     All we are asking the Court to do is

 415:22:59   to apply what is in the Articles Supplementary, and what is

 515:23:02   in the LIBOR Act.

 615:23:03             And the LIBOR Act, when it speaks of a benchmark

 715:23:06   replacement, specifically says that it can be an interest

 815:23:10   rate or a dividend rate, or a benchmark.        It has all three.

 915:23:15   And that is what we have done.

1015:23:17             And if the shareholders believe that this violates a

1115:23:24   fundamental corporate charter, the Articles Supplementary,

1215:23:28   they can bring suit under that.      This is not a consumer

1315:23:31   action.

1415:23:31             And why did we not ask for it to be transferred?

1515:23:34   Because the appropriate remedy, if Maryland law applies, is

1615:23:38   that the UCL claim should be dismissed.        There is no more

1715:23:41   claim.    That would require dismissal.

1815:23:43             THE COURT:   True, but there could -- it could be,

1915:23:45   and would be, in fact, dismissed with leave to amend.          And

2015:23:50   obviously, if everyone wanted it to be in Maryland, then that

2115:23:55   is fine; but here -- counsel I have, in fact, received a

2215:24:01   verdict from the jury.     So I will take this under submission.

2315:24:08             I guess because of kind of the intricacies of the --

2415:24:13   of what I perceive to be that issue, I probably, in the

2515:24:17   extent that I've had time to focus on this with this lengthy




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 115:24:21   civil trial now coming to an end, I have -- was more on the

 215:24:26   issue, which frankly I'm sure to you and your clients matters

 315:24:29   less than the proper interpretation of the LIBOR Act.

 415:24:32            So all I'm going to say now is that both of those

 515:24:35   issues are taken under submission.       And I will carefully

 615:24:40   consider your arguments when I think through how -- what my

 715:24:46   final order should be.

 815:24:47            Thank you, counsel.

 915:24:48            MR. FARINA:    Can I ask, in light of this issue of

1015:24:51   whether or not there is an adequate remedy under Maryland

1115:24:55   law, we would be -- we would welcome the opportunity to

1215:24:58   provide a very short supplemental brief on that.

1315:25:01            THE COURT:    I'll keep that in mind, but I doubt that

1415:25:03   will be necessary.

1515:25:04            MR. FARINA:    Thank you, Your Honor.

1615:25:05            THE COURT:    Thank you, counsel.

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 1         I certify that the foregoing is a correct transcript from the

 2         record of proceedings in the above-titled matter.

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 8         Amy C. Diaz, RPR, CRR                  November 26, 2024

 9         S/   Amy Diaz

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